                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR09-4033-MWB
 vs.                                                              ORDER
 JOHNNY ROJAS,
               Defendant.
                                 ____________________


       The defendant has filed a motion (Doc. No. 179) for a bill of particulars as to
certain details of the conspiracy in which the defendant is alleged to have participated. The
plaintiff (the “Government”) resists the motion, arguing the information the defendant
seeks is beyond the scope of a bill of particulars. (Doc. No. 189)
       “The district court has broad discretion in granting or denying a bill of particulars.”
United States v. Sileven, 985 F.2d 962, 966 (8th Cir. 1993). “[T]he purpose of a bill of
particulars is to inform the defendant of the nature of the charges against him and to
prevent or minimize the element of surprise at trial.” United States v. Wessels, 12 F.3d
746, 750 (8th Cir. 1993). The Wessels court explained further:
              An indictment is legally sufficient on its face if it contains all
              of the essential elements of the offense charged, fairly informs
              the defendant of the charges against which he must defend, and
              alleges sufficient information to allow a defendant to plead a
              conviction or acquittal as a bar to the subsequent prosecution.
              United States v. Young, 618 F.2d 1281, 1286 (8th Cir.), cert.
              denied, 449 U.S. 844, 101 S. Ct. 126, 66 L. Ed. 2d 52
              (1980). An indictment will ordinarily be held sufficient unless
              it is so defective that it cannot be said, by any reasonable
              construction, to charge the offense for which the defendant
              was convicted. Id.
Wessels, 12 F.3d at 750.



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       The court may order the government to provide additional details if the indictment
fails to apprise the defendant sufficiently of the charges against him to enable him to
prepare a defense.    United States v. Garrett, 797 F.2d 656, 665 (8th Cir. 1986).
However, “a bill of particular is not a proper tool for discovery.” United States v. Hester,
917 F.2d 1083, 1084 (8th Cir. 1990); accord Wessels, 12 F.3d at 750.
       In this case, the court finds the Indictment adequately informs the defendant of the
nature of the charges against him. The parties have entered into a stipulated discovery
order that provides defense counsel with access to all of the Government’s witness
statements and evidence. No further disclosure is required.
       The motion is denied.
       IT IS SO ORDERED.
       DATED this 2nd day of December, 2009.




                                          PAUL A. ZOSS
                                          CHIEF MAGISTRATE JUDGE
                                          UNITED STATES DISTRICT COURT




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